PROB.'12
‘R°""°"“’ ease 2:92-cr-20106-sH1\/1 Documem 67 Filed 06/13/05 Page 1 015 PagelD 1

UNITED sTATEs nlsTRlCT COURT fm SY~-.%--._-_D@
WEsTERN DISTRICT 0F TENNESSEE 99999 9 9‘ l'»*"”

 

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‘-”' 0'1= TN manson

U. S. A. vs. KEV]N WILHITE Docket No. 2:92CR20106-01

Petition on Probation and Supervised Release

COMES NOW Willie S. Williams Jr. ,PROBATI()N OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Kevin Wi_____l____hite ,who Was placed on supervision by the
Honorable Odell Horton sitting in the Court at Memphis, Tennessee ,on the__ 26th day of_.l_ldv, 19 9_3 who
fixed the period of supervision at five 151 years*, and imposed the general terms and conditions theretofore
adopted by the Court and also imposed special conditions and terms as follows:

 

* Effective date of Supervision: December 10, 2001.

RESPECTFULLY PRESENTING PETI'I`ION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(SEE ATTACHED)

PRAYING THAT THE COURT WILL ()RDER that a WARRANT be issued for Kevin Wilhite to appear
before the United States District Court to answer charges of Supervised Release violations.

 

BOND:
ORDER OF COURT l declare under the penalty of perjury
that the foregoing is true and correct.
Considered and ordered this / ri`day Execu_‘t_ed

,20°5 , and ordered filed on decades q` QOOSf

and agemadj:ajrt//1”\/1'____Hof the records` ln the above /
Senior United$ S tes Probation fficer

United States District Judge

 

Plac:e: MemnhiS,T.N

Thi`s document entered on the docket beet in compliance '
mm ama ss and/cream mch on (;'L§;(`Q 40 7

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RESPECTFULLY PRESENT[NG PE'I`ITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

THE DEFENDANT VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant shall not commit another federal, state, or local erime.

According to investigative reports, on February l4, 2004, Mr. Wilhite pulled into an area Where the Memphis
Police Department’s Organized Crime Unit was conducting an undercover drug operation Mr. Wilhite was
stopped and detained for not wearing a seat belt. While exiting the vehicle, he was observed stuffing
something into his pants. Upon being searched, oiiicers recovered 126.2 grams of Cocaine Base from Mr.
Wilhite’s crouch area. After being taken into custody, Mr. Wilhite provided a signed statement admitting to
possession of the drugs. He was subsequently released pending the outcome of the investigation On February
4, 2005, Kevin Wilhite Was arrested by Memphis Police Officers on a warrant charging Possession of a
Controlled Substance With intent to Manufacture/De]iver/Sell. On May 5, 2005, Mr. Wilhite appeared in
General Sessions Court, Division 8, where he waived his Preliminary Hearing, and was Held to State on the
above charge. He is released on a $100,000.00 bond.

The defendant shall not possess a firearm as defined in 18 U.S.C. § 921.

Mr. Wilhite violated the above condition in that on February l4, 2004, while in the custody of officers of the
Memphis Police Departrnent’s Orga.nized Crime Unit, he provided a signed Written statement admitting to
having knowledge of several firearms that were found by oHicers during a search of his residence Mr.
Wilhite further admitted to owning one firearm, which he kept in his bedroom closet.

The defendant shall notify the Probation Ofiicer within seventy-two (72) hours of being arrested or
questioned by a law enforcement officer.

Mr. Wilhite violated this condition by failing to report the February 14, 2004, arrest to the Probation Ofticer
within the required seventy-two (72) hours.

:"'*P°.N

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Defendant Ke|vin Wilhite (Address: 157Sh0fner, Memphis, TN 38109)
Docket Number (Year-Sequence-Defendant No.) 2:920R20106-01
DistrictIOffice Westem District of Tennessee (Memphis)

OriginalSentence Date 07 I;S_I 1993
month day year

(if different than above):

5.
6.

7.

10.

11.

Origina| Districthffrce

 

Origina| Docket Number (Year-Sequence-Defendant No.)

 

List each violation and determine the applicable grade {§ge_ §7B1.1}:

Vlo|ation{s}
New criminal conduct of: Possession of Controlled Substance With lntent to
ManufacturelDe|iver/Se||.
Possession cfa firearm

Failure to notify the Probation Ofticer of contact with police within required seventy-two (72)
hours

Grade

 

 

Most Serious Grade of Violation (B §TB1.1(b))

Criminal History Category {B §7B1.4(a})74

Vl

 

 

Range of imprisonment (§§e_ §7B1.4(a)] 51 - 63

 

months

 

Restricted Guide|ine

18 USC §3583(e) authorizes a maximum sentence of 60 months

Sentencing Options for Grade B and C Violations On|y (Check the appropriate box}:

{ } (a)|f the minimum term of imprisonment determined under §7B1.4 (Terrn of |mprisonment) is at least one month but not

more than six months, §7B1.3(c)(1) provides sentencing options to imprisonment

{ } (b)|f the minimum term of imprisonment determined under §7B1.4 (Verm of |mprisonment) is more than six months but

not more than ten months, §7B1.3(c)(2} provides sentencing options to imprisonment

{X} (c)|f the minimum term of imprisonment determined under §7B1.4 (Tenn of lmprisonment) is more than ten months, no

sentencing options to imprisonment are available

Mail documents to: United States Sentencing Commission, 1331 Pennsyivania Avenue, N.W.

Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

12.

13.

14.

15.

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Defendant Ke|vin Wilhite

 

Unsatisfied Conditions of Origina| Sentence

List any restitution, hne, community confinement horne detention, or intermittent conlinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {see §731.3(d)}:

 

 

 

 

Restitution ($) N/A Community Confinement NlA
Fine ($) N/A Home Detention NIA
Other N/A |nten'nittent Continement NlA

 

 

Supervised Re|ease

if probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§501 .1-

1.3{see §§7131.3(9)(1)}.

Tenn: N/A to NIA years
lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible
upon revocation, the defendant may, to the extent permitted by law. be ordered to recommence supervised reiease upon release

from imprisonment {B 18 U.S.C. §3583(e) and §7B1.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

 

Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicants range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

Ofticiat Detenh'on Adjuslment w §7B1.3{e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite1400,Washir\gton, D.C., 20004, Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:92-CR-20106 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38 l 03

Honorable Samuel Mays
US DISTRICT COURT

